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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Morrison C. England, Jr.             RE: Seema RAJPUT
Chief United States District Judge                 Docket Number: 2:12CR00300-03
Sacramento, California                             REQUEST TO AMEND JUDGMENT



Your Honor:

On June 13, 2013, Seema Rajput was sentenced to 3 years probation following her conviction
for 18 USC 1341 – Mail Fraud. At the time of sentencing, the mandatory condition requiring
the collection of DNA was not ordered. A qualifying federal offense for DNA collection, as
determined by the Attorney General, includes any felony conviction. Although a mandatory
requirement, for purposes of clarity, the Probation Officer humbly requests the original
Judgment be amended to add this condition, if so supported by the Court’s transcript.

In addition to the above, the mandatory condition requiring the offender to submit to one drug
test within 15 days of release on probation and at least two periodic drug tests thereafter, not to
exceed four (4) drug tests per month, was not waived. The Presentence Report dated May 21,
2013, recommended the condition be waived. The recommendation contemplated
Mrs. Rajput’s personal history and characteristics, along with the nature of the instant offense
and considered her lack of any prior substance abuse history. In considering the above and this
writer’s assessment of Mrs. Rajput, which includes her compliance to date and lack of any
visible signs of drug abuse, it is respectfully recommended the Judgment be amended to add
this condition if so supported by the Court’s transcript.



This is respectfully submitted for Your Honor’s review and direction.


                                     Respectfully submitted,

                                         /s/ Laura Weigel

                                        Laura Weigel
                                United States Probation Officer




                                                                                        REV. 03/2014
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     RE:      Seema RAJPUT
              Docket Number: 2:12CR00300-03
              REQUEST TO AMEND JUDGMENT



     Dated:     May 2, 2014
                Modesto, California
                LW/lr


                                          /s/ Jack C. Roberson
      REVIEWED BY:               Jack C. Roberson
                                 Supervising United States Probation Officer



                                       ORDER OF THE COURT

☒   Approved – Judgment to be amended to include the
    mandatory condition requiring DNA collection and
                                                        ☐      Disapproved – Probation Officer to contact the
                                                               Court.
    the mandatory drug testing condition is waived.


     Dated: May 19, 2014




     cc:      Jared Chase Dolan
              Assistant United States Attorney

              Michael Donald Long
              Defense Counsel




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                                                                                       REV. 03/2014
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